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DECLARATION OF MICHAEL HASSARD

Under 28 U.S.C. $1746 (2), I declare the following under the penalty of perjury:

1. My name is Michael Hassard.
2. Taman Associate Attorney at Tor Ekeland Law PLLC.
3, Our offices are located at the following address:
30 Wall Street
8" Floor
New York, NY 10005
4. My office phone number is (718) 737-7264.

3. My email is michael @torekeland.com.

6. [am in good standing as a member of the State Bar of New York
and have never been disciplined.

7. My bar number is 5824768.
8. Iam admitted in the following Courts:
a) New York State Court, Second Judicial Department
b) United States District Court for the District of Colorado

c) United States District Court for the Eastern District of New
York

d) United States District Court for Southern District of New
York

9. This is the first time I have moved to appear pre hac vice in this
Court.
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Dated March 9, 2022

Submitted,

Michael Hassard
NYS Bar #: 5824768

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michael @ torekeland.com
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Attorney for Defendant
Roman Sterlingov
